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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA,

          v.                                            Case No. 1:21-cr-00582 (CRC)
    MICHAEL A. SUSSMANN,

                   Defendant.


                          JOINT PROPOSED JURY INSTRUCTIONS

        As directed by the Court’s December 14, 2021 Pre-Trial Order, and pursuant to Rule 30 of

the Federal Rules of Criminal Procedure, the parties respectfully propose the following preliminary

and final instructions for the Court’s charge to the jury and the attached verdict form. In addition,

the parties request leave to offer such other and additional instructions as may become appropriate

during the course of the trial.1

I.      PROPOSED PRELIMINARY JURY INSTRUCTIONS

        The parties request that the Court include in its charge to the jury the following instructions

from the latest edition of the Criminal Jury Instructions for the District of Columbia (the “Red

Book”):

     1. Instruction 1.102, Preliminary Instruction Before Trial

               o [Mr. Sussmann proposes the Special Counsel’s Office be referred to as “the
                 Special Counsel,” not “the government.” Mr. Sussmann therefore requests
                 that the Court change all references in all jury instructions from “the


1
  Instances where the parties disagree regarding specific instructions or language within specific
instructions are indicated in bold, brackets, and/or underline. Jointly proposed substantive
instructions are labeled as “Joint Proposed Instructions.” Substantive instructions proposed by
only the Special Counsel are labeled as “Government’s Proposed Instructions.” Substantive
instructions proposed by only Mr. Sussmann are labeled as “Mr. Sussmann’s Proposed
Instructions.”
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     government” to “the Special Counsel.” The Special Counsel believes it should
     be referred to as the government throughout. For ease of review, Mr.
     Sussmann has not repeated his proposal in every instruction.]

  o [Where noted in the pattern instruction, the Special Counsel proposes reading
    or summarizing the Indictment. If summarizing, the Special Counsel proposes
    the following: “The Indictment in this case alleges that, on or about September
    19, 2016, Mr. Sussmann, did willfully and knowingly make a materially false,
    fictitious, and fraudulent statement or representation in a matter before the
    Federal Bureau of Investigation (“FBI”), in violation of 18 U.S.C. § 1001(a)(2),
    namely, that Mr. Sussmann stated to the General Counsel of the FBI that he
    was not acting on behalf of any client in conveying particular allegations.”

     Mr. Sussmann proposes summarizing, rather than reading, the Indictment
     and adding the following clause to the summary, as indicated with
     underlining: “. . . on behalf of any client in conveying particular allegations
     concerning Donald Trump, when, in fact, he was acting on behalf of specific
     clients, namely, Rodney Joffe and the Clinton Campaign.”]

  o [The parties agree to include the following optional paragraph where noted in
    the pattern instruction: “At the end of the trial, you will have to decide
    whether or not the evidence presented has convinced you beyond a reasonable
    doubt that the defendant committed the offense with which he has been
    charged. To prove that offense, the government must prove beyond a
    reasonable doubt each of the elements of the charged offense. The charged
    offense in this case is as follows: Count One charges a violation of Title 18
    U.S.C. § 1001(a)(2), which makes it unlawful for a person to willfully and
    knowingly make a materially false, fictitious or fraudulent statement or
    representation in a matter before the jurisdiction of the executive branch of
    the Government of the United States, as charged in this case that executive
    branch agency is the Federal Bureau of Investigation. I will give you detailed
    instructions at the conclusion of the trial as to what the offense charged in this
    case requires the government to prove beyond a reasonable doubt.”]

  o [The Special Counsel proposes the following revision to the pattern
    instruction, as indicated with underlining: “As I explain how the trial will
    proceed, I will refer to the “government” and to the “defense” or the
    “defendant.” When I mention the “government,” I am referring to Assistant
    Special Counsel Ms. Shaw and Messrs. DeFilippis, Keilty, and Algor. When I
    mention the defendant or the defense, I am referring either to the defendant
    Mr. Sussmann or to his attorneys Messrs. Berkowitz and Bosworth and Ms.
    Rao and Ms. Yao.”

     Mr. Sussmann instead proposes the following, as indicated with underlining:
     “As I explain how the trial will proceed, I will refer to the “Special Counsel”
     or “government” and to the “defense” or the “defendant.” When I mention
     the “Special Counsel,” I am referring to Special Counsel John Durham and

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          his team, Assistant Special Counsel Ms. Shaw and Messrs. DeFilippis, Keilty,
          and Algor. A Special Counsel is a lawyer appointed to investigate, and
          potentially prosecute, a particular case of suspected wrongdoing for which a
          conflict of interest exists for the usual prosecuting authority. When I mention
          the defendant or the defense, I am referring either to the defendant Mr.
          Sussmann or to his attorneys Messrs. Berkowitz and Bosworth and Ms. Rao
          and Ms. Yao.”]

       o [The parties agree to include the following optional paragraph where noted in
         the pattern instruction: In some cases, there may be reports in the newspaper
         or on the radio, Internet, or television concerning the case while the trial is
         ongoing. If there should be such media coverage in this case, you may be
         tempted to read, listen to, or watch it. You must not read, listen to, or watch
         such reports because you must decide this case solely on the evidence presented
         in this courtroom. If any publicity about this trial inadvertently comes to your
         attention during trial, do not discuss it with other jurors or anyone else. Just
         let me or my clerk know as soon after it happens as you can, and I will then
         briefly discuss it with you.]

2. Instruction 1.105, Notetaking by Jurors

3. Instruction 1.107, Preliminary Instruction to Jury Where Identity of Alternates is Not
   Disclosed

4. Instruction 1.108, A Juror’s Recognition Of A Witness Or Other Party Connected To The
   Case




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II.      PROPOSED FINAL JURY INSTRUCTIONS – PATTERN INSTRUCTIONS

         The parties jointly propose, except as indicated or modified, the following final jury

instructions from the Redbook:

      1. Instruction 2.100, Furnishing the Jury with a Copy of the Instructions

      2. Instruction 2.101, Function of the Court

      3. Instruction 2.102, Function of the Jury [Mr. Sussmann proposes modifying Instruction
         2.102 to say: “. . . All people deserve fair treatment in our system of justice regardless
         of any personal characteristic, such as race, national or ethnic origin, religion, age,
         disability, sex, gender identity or expression, sexual orientation, education, income
         level, or political leanings. . . .”. The government requests that Instruction 2.102 be
         read as set forth in the Redbook.]

      4. Instruction 2.103, Jury’s Recollection Controls

      5. Instruction 2.104, Evidence in the Case

      6. Instruction 2.105, Statements of Counsel

      7. Instruction 2.106, Indictment Not Evidence

      8. Instruction 2.107, Burden of Proof

      9. Instruction 2.108, Reasonable Doubt

      10. Instruction 2.109, Direct and Circumstantial Evidence

      11. Instruction 2.110, Nature of Charge Not to be Considered

      12. Instruction 2.111, Number of Witnesses

      13. Instruction 2.112, Inadmissible and Stricken Evidence

      14. Instruction 2.216, Evaluation of Prior Inconsistent Statement of a Witness

      15. Instruction 2.200, Credibility of Witnesses

      16. Instruction 2.204, Testimony of Immunized Witness

      17. Instruction 2.207, Police Officer’s Testimony [The parties propose modifying
          Instruction 2.207 to say: “Instruction 2.107, Testimony by Law Enforcement Officers:
          A law enforcement officer’s testimony should be evaluated by you just as any other
          evidence in the case. In evaluating the officer’s credibility, you should use the same
          guidelines that you apply to the testimony of any witness. In no event should you give

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       either greater or lesser weight to the testimony of any witness merely because he or
       she is a law enforcement officer.”]

    18. Instruction 2.208, Right of Defendant Not to Testify [if Mr. Sussmann chooses not to
        testify] or Instruction 2.209, Defendant as Witness [if Mr. Sussmann chooses to testify] [In
        lieu of Instruction 2.209 and in the event Mr. Sussmann chooses to testify, Mr.
        Sussmann proposes the following: “In a criminal case, the defendant cannot be
        required to testify, but, if he chooses to testify, he is, of course, permitted to take the
        witness stand on his own behalf. In this case, the defendant decided to testify. You
        should examine and evaluate his testimony just as you would the testimony of any
        witness with an interest in the outcome of this case.”2 The government requests that
        Instruction 2.209 be read as set forth in the Redbook.]

    19. Instruction 2.215, Specialized Opinion Testimony

    20. Instruction 2.216, Evaluation of Prior Inconsistent Statement of a Witness

    21. Instruction 2.500, Redacted Exhibits

    22. Instruction 2.405, Unanimity—General

    23. Instruction 2.407, Verdict Form Explanation

    24. Instruction 2.501, Exhibits During Deliberations

    25. Instruction 2.502, Selection of Foreperson

    26. Instruction 2.508, Cautionary Instruction on Publicity, Communication and Research

    27. Instruction 2.509, Communications Between Court and Jury During Jury’s Deliberations

    28. Instruction 2.510, Attitude and Conduct of Jurors in Deliberations

    29. Instruction 2.511, Excusing Alternate Jurors

    30. Instruction 3.101, Proof of State of Mind




2
  Authority: 1 Modern Federal Jury Instructions-Criminal ¶ 7.01, Instruction 7-4; “Defendant’s
Interest If Defendant Testifies”
                                              5
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III.   PROPOSED FINAL JURY INSTRUCTIONS –
       SUBSTANTIVE INSTRUCTIONS 18 U.S.C. § 1001(A)(2)

       The parties jointly propose, except as indicated or modified, the following substantive final

jury instructions:

                          Government’s Requested Instruction No. 1
                                    The Purpose of the Statute
       The purpose of § 1001 is to protect the authorized functions of the various governmental

departments from any type of misleading or deceptive practice and from the adverse consequences

that might result from such deceptive practices.

       To establish a violation of § 1001, it is necessary for the government to prove certain

essential elements – which I will soon describe for you – beyond a reasonable doubt. However, I

want to point out now that it is not necessary for the government to prove that the Federal Bureau

of Investigation was, in fact, misled as a result of the defendant’s actions. It does not matter

whether the FBI was in fact misled, or even whether it knew of the misleading or deceptive act,

should you find that the act occurred. These circumstances would not excuse or justify a

concealment undertaken, or a false, fictitious or fraudulent statement made, or a false writing or

document submitted, willfully and knowingly about a matter within the jurisdiction of the

government of the United States.3

       Mr. Sussmann objects to the inclusion of this instruction. The elements speak for

themselves and there is no basis for including an instruction about the purpose of the statute,

particularly one written in a way that emphasizes language about materiality that is only

favorable to the Special Counsel.




3
 Authority: 2 Modern Federal Jury Instructions – Criminal ¶ 36.01, Instruction 36-2, “The
Purpose of the Statute.”
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                               Joint Requested Instruction No. 2
                                           Allegations
         The Indictment alleges that Michael Sussmann made one false statement to the Federal

Bureau of Investigation (“FBI”) in violation of 18 U.S.C. § 1001(a)(2).

         Specifically, the Indictment alleges that, on or about September 19, 2016, Mr. Sussmann,

did willfully and knowingly make a materially false, fictitious, and fraudulent statement or

representation in a matter before the FBI, in violation of 18 U.S.C. § 1001(a)(2), namely, that Mr.

Sussmann stated to the General Counsel of the FBI that he was not acting on behalf of any client

in conveying particular allegations.4

         Mr. Sussmann proposes modifying the last sentence as follows, as indicated by

underlining: Specifically, the Indictment alleges that, on or about September 19, 2016, Mr.

Sussmann, did willfully and knowingly make a materially false, fictitious, and fraudulent

statement or representation in a matter before the FBI, in violation of 18 U.S.C. § 1001(a)(2),

namely, that Mr. Sussmann stated to the General Counsel of the FBI that he was not acting

on behalf of any client in conveying particular allegations concerning Donald Trump, when,

in fact, he was acting on behalf of specific clients, namely, Rodney Joffe and the Clinton

Campaign.5 The government objects to the defense’s proposed modification since it will lead

to confusion regarding charging in the conjunctive but only needing to prove in the

disjunctive.




4
    Authority: Indictment.
5
    Authority: Indictment.
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                               Joint Requested Instruction No. 3
                                    Elements of the Offense
       In order to prove the defendant guilty of the crime charged, the government must prove

beyond a reasonable doubt:

       First, on or about September 19, 2016, the defendant made a statement or representation;

       Second, the statement or representation was false, fictitious or fraudulent;

       Third, that this statement or representation was material;

       Fourth, the false, fictitious or fraudulent statement was made knowingly and willfully; and

       Fifth, the statement or representation was made in a matter within the jurisdiction of the

executive branch of the government of the United States.6




6
 Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-9; “Elements of the
Offense.”
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                              Joint Requested Instruction No. 4
                        First Element: Statement or Representation
       The first element that the government must prove beyond a reasonable doubt is that the

defendant made a statement or representation.7




7
 Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-10, “False Statements,”
“Statement or Representation.”
                                             9
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                               Joint Requested Instruction No. 5
                 Second Element: False, Fictitious, or Fraudulent Statement
       The second element that the government must prove beyond a reasonable doubt is that the

statement or representation was false, fictitious or fraudulent. A statement or representation is

“false” or “fictitious” if it was untrue when made, and known at the time to be untrue by the person

making it or causing it to be made. A statement or representation is “fraudulent” if it was untrue

when made and was made or caused to be made with the intent to deceive the FBI.8




8
 Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-12, “False Statements,”
“False, Fictitious or Fraudulent Statement.”
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                          Government’s Requested Instruction No. 6
                                  Third Element: Materiality

       The third element the government must prove beyond a reasonable doubt is that the

defendant’s statement or representation was material.

       A fact is material if it had a natural tendency to influence, or was capable of influencing,

either a decision or other function of the FBI. In other words, a statement is material if it was

capable of influencing the FBI. However, proof of actual reliance on the statement by the

government is not required. Accordingly, the government is not required to prove that the

statement actually influenced a decision or other function of the FBI.9




9
 Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-11, “False Statements,”
“Materiality,” as modified based on United States v. Verrusio, 762 F.3d 1, 20 (D.C. Cir. 2014);
United States v. Safavian, 649 F.3d 688, 691-92 (D.C. Cir. 2011); United States v. Moore, 612
F.3d 698, 701 (D.C. Cir. 2010).
                                              11
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                          Mr. Sussmann’s Requested Instruction No. 6
                                    Third Element: Materiality
       The third element the government must prove beyond a reasonable doubt is that Mr.

Sussmann’s statement or representation was material.

       A statement is “material” if it has a natural tendency to influence, or is capable of

influencing, a discrete decision of the decision-making body to which it is addressed.10

       Here, the alleged statement was made before the FBI began investigating the Alfa Bank

allegations. Therefore, to be “material” the statement must be capable of influencing the FBI’s

decision whether to initiate an investigation.11



10
   Authority 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-11, “Second Element—
Materiality”; United States v. Gaudin, 515 U.S. 506, 509 (1995) (to be material a “statement must
have ‘a natural tendency to influence, or [be] capable of influencing, the decision of the
decisionmaking body to which it was addressed.” (quoting Kungys v. United States, 485 U.S. 759,
770 (1988))); United States v. Stadd, 636 F.3d 630, 638 (D.C. Cir. 2011) (“The jury charge
correctly used” the “accepted definition of materiality” where “the jury instruction read: ‘A
statement is “material” if it has a natural tendency to influence, or is capable of influencing, the
decision of the decision-making body to which it was addressed.”); United States ex rel. Morsell
v. Symantec Corp., 130 F. Supp. 3d 106, 123 n.16 (D.D.C. 2015) (“‘a statement is material if it
has a natural tendency to influence, or is capable of influencing’ an agency’s action” (quoting
United States v. Moore, 612 F.3d 698, 701 (D.C. Cir. 2010))).
The defense recognizes that the Court did not accept this approach in its Opinion and Order
denying Mr. Sussmann’s Motion to Dismiss. ECF No. 67 at 2. The defense continues to believe
in the propriety of its previously suggested approach, see ECF No. 39 at 5-8, and proposes this
instruction to preserve the issue for appeal. To the extent the Court adheres to its previous decision,
the defense alternatively requests the following instruction: “A statement is ‘material’ if it has a
natural tendency to influence, or is capable of influencing, either a discrete decision or any other
function of the government agency to which it is addressed.”
11
   Authority: United States v. Hansen, 772 F.2d 940, 949-950 (D.C. Cir. 1985) (holding that
because defendant’s omissions “tended to conceal information that would have prompted
investigation or action,” they met the test of materiality, i.e., “whether the statement ‘has a natural
tendency to influence, or was capable of influencing, the decision of the tribunal in making a
[particular] determination’” (citation omitted)); United States v. Carrasquillo, 239 F. App’x 634,
635 (2d Cir. 2007) (Although the government was “not actively investigating whether defendant
owned an unauthorized firearm,” defendant’s false “statement that he had never owned an off-duty
firearm was clearly material . . . as it went to the heart of whether [the defendant] had the means
of engaging in . . . possibly unprofessional conduct,” for which the government “had the authority
                                                   12
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       To be “material,” a statement must be reasonably likely to influence the agency’s decision.

That is, the statement must have a sufficient nexus or close connection to the decision required to

be made. A statement is “material” only if it relates to an important fact. By contrast a statement

is not material if it relates to an ancillary, non-determinative fact or unimportant detail.12 A

statement may be relevant but not material.13

       The government objects to the defense’s proposed instruction in that it is confusing

in parts and, respectfully, misstates the law in certain respects.




to investigate” and which the government then investigated. (emphasis added)). The defense
recognizes that this Court articulated a somewhat different standard in its Opinion and Order
denying Mr. Sussmann’s Motion to Dismiss. ECF No. 67 at 3. The defense adheres to its previous
articulation, see ECF No. 39 at 11-13, and proposes this instruction to preserve the issue for appeal.
To the extent the Court adheres to its view that materiality extends to both the “commencement or
the later conduct of the FBI’s investigation,” ECF No. 67 at 3 (emphasis added), the defense
alternatively requests the following instruction: “Here, to be ‘material,’ the statement therefore
must have been capable of influencing a discrete decision or function of the FBI.”
12
    Authority: Op. and Order, ECF No. 67 at 5 (viewing as “correct that certain statements might
be so peripheral or unimportant to a relevant agency decision or function to be immaterial under §
1001 as matter of law”); United States v. White, 765 F.2d 1469, 1472 (11th Cir. 1985) (materiality
standard ensures “trivial falsifications” are not prosecuted); Weinstock v. United States, 231 F.2d
699, 701 (D.C. Cir. 1956) (“To be ‘material’ means to have probative weight, i.e., reasonably
likely to influence the tribunal in making a determination required to be made.”); United States v.
Steele, 933 F.2d 1313, 1315 (1991) (materiality serves “to exclude trivial falsehoods from the
purview of the statute”); United States v. Naserkhaki, 722 F. Supp. 242, 248 (E.D. Va. 1989)
(explaining that “[w]here, as here, a misstatement relates to an ancillary, non-determinative fact,
it is not material and cannot support a conviction under Section 1001”); United States v. Facchini,
874 F.2d 638, 643 (9th Cir. 1989) (noting that a “false statement must . . . be capable of having
some non-trivial effect on a federal agency”); see generally United States v. Neder, 527 U.S. 1,
20-23 & n.5 (1999) (defining a “matter” as “material” if “a reasonable man would attach
importance to its existence or nonexistence in determining his choice of action’” (quoting
Restatement (Second) of Torts § 538 (1977))).
13
   Authority: Weinstock v. United States, 231 F.2d 699, 701 (D.C. Cir. 1956) (“‘Material’ when
used in respect to evidence is often confused with ‘relevant’, but the two terms have wholly
different meanings. To be ‘relevant’ means to relate to the issue. To be ‘material’ means to have
probative weight, i.e., reasonably likely to influence the tribunal in making a determination
required to be made. A statement may be relevant but not material.”); United States v. Johnson,
19 F.4th 248, 257, 59 (3d Cir. 2021) (same).
                                               13
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                                  Joint Requested Instruction No. 7
                          Fourth Element: Knowing and Willful Conduct
          The fourth element that the government must prove beyond a reasonable doubt is that the

defendant acted knowingly and willfully.

          An act is done knowingly if it is done purposely and voluntarily, as opposed to mistakenly

or accidentally.

          An act is done willfully if it is done with an intention to do something the law forbids, that

is, with a bad purpose to disobey the law.14

          Mr. Sussmann additionally proposes the following instruction: “The defendant’s

conduct is not willful if it was the result of a good faith understanding that he was acting

within the requirements of the law.”15 The government objects to the inclusion of this

language.




14
  Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-13, “False Statements,”
“Knowing and Willful Conduct.”
15
     Authority: United States v. Doyle, 130 F.3d 523, 540 (2d Cir. 1997).
                                                 14
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                               Joint Requested Instruction No. 8
         Fifth Element: Matter Within the Jurisdiction of the United States Government
       As I have told you, the fifth element with respect to each count is that the statement or

representation be made with regard to a matter within the jurisdiction of the executive branch of

the government of the United States. I charge you that the FBI is a part of the executive branch of

the United States.

       To be within the jurisdiction of the executive branch of the government of the United States

means that the statement must concern an authorized function of that branch.16




16
  Authority: 2 Modern Federal Jury Instructions ¶ 36.01, Instruction 36-14, “False Statements,”
“Matter Within the Jurisdiction of the United States Government.”
                                               15
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                           Mr. Sussmann’s Requested Instruction No. 9
                                             Good Faith
          Good faith is a complete defense to the charge in this case. A statement made with good

faith belief in its accuracy does not amount to a false statement and is not a crime. This is so even

if the statement is, in fact, erroneous.17

          In other words, a person who acts on a belief or an opinion honestly held is not punishable

under this statute merely because the belief or opinion turns out to be inaccurate, incorrect, or

wrong. An honest mistake in judgment or an error in management does not rise to the level of

knowledge and willfulness required by the statute.

          This law is intended to subject to criminal punishment only those people who knowingly

and willfully attempt to deceive. While the term good faith has no precise definition, it means,

among other things, a belief or opinion honestly held, an absence of malice or ill will, and an

intention to comply with known legal duties.

          In determining whether or not the government has proven that the defendant acted

knowingly and willfully in making a false, fictitious or fraudulent statement, the jury must consider

all of the evidence in the case bearing on the defendant’s state of mind.

          The burden of proving good faith does not rest with the defendant because the defendant

does not have an obligation to prove anything in this case. It is the government’s burden to prove

to you, beyond a reasonable doubt, that the defendant acted knowingly and willfully to make false,

fictitious or fraudulent statements.




17
     Authority: 1 Modern Federal Jury Instructions-Criminal ¶ 8.01, Instruction 8-1; “Good Faith.”
                                                16
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          If the evidence in the case leaves the jury with a reasonable doubt as to whether the

defendant acted in good faith, the jury must acquit him.18

          The government objects to the defendant’s requested instruction as proposed.




18
     Authority: 2A Fed. Jury Prac. & Instr. § 40:16 (6th ed.).
                                                 17
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                        Mr. Sussmann’s Requested Instruction No. 10
                                     Theory of the Defense
       Michael Sussmann denies the charge against him and maintains his innocence. He

contends that the government has failed to prove beyond a reasonable doubt: (1) what

Mr. Sussmann actually said to Mr. Baker; (2) that the statement was false; (3) that Mr. Sussmann

intended to say something false; and (4) that the statement was material.19

       The government objects to the inclusion of this instruction.




19
  Authority: Redbook, Instruction 9.100 (“A defendant is generally entitled to an instruction on
his theory of the case.”). Mr. Sussmann reserves the right to modify this proposed instruction
based on the evidence introduced at trial.
                                             18
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                               Joint Requested Instruction No. 11
                                            Punishment
       The question of possible punishment of the defendant is of no concern to the jury and

should not, in any sense, enter into or influence your deliberations. The duty of imposing a

sentence rests exclusively upon the Court. Your function is to weigh the evidence in the case and

to determine whether or not the defendant is guilty beyond a reasonable doubt, solely upon the

basis of such evidence. Under your oath as jurors, you cannot allow a consideration of the

punishment that may be imposed upon the defendant, if he is convicted, to influence your verdict,

in any way, or, in any sense, enter into your deliberations.20




20
   Authority: 2 Modern Federal Jury Instructions – Criminal ¶ 9.01, Instruction 9-1,
“Punishment.”


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                     Joint Requested Instruction No. 12 [if applicable]
                      Charts and Summaries (Admitted as Evidence)
       The government (or defense) has presented exhibits in the form of charts and summaries.

I decided to admit these charts and summaries in place of the underlying documents that they

represent in order to save time and avoid unnecessary inconvenience. You should consider these

charts and summaries as you would other evidence.




                                             20
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        WHEREFORE, the parties submit the foregoing proposed Jury Instructions and Verdict
Form.

Respectfully submitted,

 JOHN H. DURHAM                                   MICHAEL A. SUSSMANN
 Special Counsel

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